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       Attorney for Plaintiff Smith’s
                              Smith's Consumer Products, Inc.




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

SMITH’S
SMITH'S CONSUMER PRODUCTS, INC.,                    Case No.

               Plaintiff,
                                                    COMPLAINT FOR DESIGN PATENT
       v.                                           INFRINGEMENT

THE GOURMET MAN, LLC, d/b/a BBQ
NATION,                                             JURY TRIAL DEMANDED

              Defendants.


       COMES NOW Plaintiff, Smith’s
                            Smith's Consumer Products, Inc., for its complaint against

Defendant, The Gourmet Man, LLC, states:

                                           PARTIES

       1.     At all times relevant, Plaintiff Smith’s
                                               Smith's Consumer Products, Inc. (hereinafter

“Smith’s”), was and is a duly organized and existing Delaware corporation with its principal
"Smith's"),

place of business in Hot Springs, Arkansas.

       2.     At all times relevant, Defendant The Gourmet Man, LLC (hereinafter "The
                                                                                 “The

        Man”), was and is a duly organized Oregon limited liability company with its principal
Gourmet Man"),

place of business in Canby, Oregon. The Gourmet Man does business as BBQ Nation. The
                                                                                 Cosgrave Vergeer
                                                                                           Vergeer Kester
                                                                                                   Kester LLP
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         – COMPLAINT FOR DESIGN PATENT INFRINGEMENT                              Cosgrave
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Gourmet Man can be served with this Complaint through its registered agent, Mitchie Graf, at

8400 S. Schneider Road, Canby, Oregon 97013.

                                  JURISDICTION AND VENUE

       3.        This is an action for design patent infringement. The Court has subject matter

jurisdiction over the design patent infringement claim pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       4.        This Court has personal jurisdiction over The Gourmet Man because it does

substantial business in this forum, including regularly doing and soliciting business in this

District, deriving substantial revenue from goods provided to individuals in this District, and

selling and offering for sale infringing goods in this District.

       5.        Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because The

Gourmet Man resides in this District, has a regular and established place of business in this

District, and acts of infringement have occurred in this District.

                                    THE ASSERTED PATENT

       6.                                                   (“the ‘550
                 On March 3, 2009, U.S. Patent No. D587,550 ("the      Patent”), entitled "Two
                                                                  `550 Patent"),          “Two

Step Knife Sharpener,”
           Sharpener," was issued by the U.S. Patent and Trademark Office. A true and correct

copy of the ‘550
            `550 Patent is attached as Exhibit A.

       7.        Smith’s
                 Smith's is the owner by assignment of all right, title, and interest in and to the

‘550
`550 Patent.

       8.        The ‘550
                     `550 Patent discloses and claims the non-functional ornamental design for a

two-step knife sharpener, which is described and shown from multiple perspectives in FIGS. 1-7,

reproduced below.



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                      wrr                                                               --711111
                                                                                                   FIG.3
                                                 FIG.2
                     FIG.1




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                                    FIG.5                                                                  FIG 7
             FIG.4                                            FIG.6




       9.        Smith’s sells knife sharpeners that embody the patented design of the ‘550
                 Smith's                                                               `550 Patent

through its website and in big box retail stores.

       10.       Smith’s marks its knife sharpeners with the patent number of the ‘550
                 Smith's                                                          `550 Patent via

its virtual marking webpage, https://smithsproducts.com/patents.

                                    THE INFRINGING PRODUCT

       11.       The Gourmet Man has made, imported, offered for sale, and/or sold knife

                                                                               “the BBQ
sharpeners referred to as the BBQ Nation Compact Knife Sharpener (hereinafter, "the

Nation Knife Sharpener").
             Sharpener”). For example, The Gourmet Man has offered for sale and sold, and

continues to offer for sale and sell, the BBQ Nation Knife Sharpener on its website,

www.bbqnation.net.

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       12.      The BBQ Nation Knife Sharpener is identical to or substantially the same as the

knife sharpener design covered by the ‘550
                                      `550 Patent.

       13.      Below is a comparison between the figures of the ‘550
                                                                 `550 Patent and the BBQ

Nation Knife Sharpener:


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  `550 Patent       ' AP
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                                                                                FIG.2
                                          FIG.1




 BBQ Nation
 Knife
 Sharpener




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‘550
`550 Patent


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                                  FIG.3                                                    FIG.4




BBQ
Nation                                                           a                                                                 .
Knife
Sharpener




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Sharpener         re
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                                     FIG.5
                                                                            --e-t---
                                                                                           FIG.6




BBQ Nation
Knife
Sharpener




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 ‘550
 `550 Patent
                                            IIIffII

                                    FIG.7




 BBQ Nation
 Knife
 Sharpener




                                    – DESIGN PATENT INFRINGEMENT
                            COUNT I —

       14.        Smith’s
                  Smith's adopts, realleges and incorporates all of the allegations and facts stated in

Paragraphs 1-13 of this Complaint.

       15.        The Gourmet Man has made, imported, offered for sale, and/or sold the BBQ

Nation Knife Sharpener that embodies the patented design of the ‘550
                                                                `550 Patent in violation of

Smith’s
Smith's rights.

       16.        The BBQ Nation Knife Sharpener is identical to or substantially the same as the

knife sharpener design covered by the ‘550
                                      `550 Patent.

       17.        In the eye of the ordinary observer, giving attention as purchasers of knife

sharpeners usually give, the resemblance between the design of the BBQ Nation Knife Sharpener

and the patented design of the ‘550
                               `550 Patent is such as to deceive the ordinary observer and cause

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an ordinary observer to purchase the BBQ Nation Knife Sharpener supposing it to be Smith’s
                                                                                   Smith's

knife sharpener and the design set forth in the ‘550
                                                `550 Patent.

           18.     The Gourmet Man was given notice of the ‘550
                                                           `550 Patent and its infringement of the

‘550
`550 Patent via a letter dated November 5, 2021. The Gourmet Man did not respond to the letter.

           19.     Despite its full knowledge of Smith’s
                                                 Smith's exclusive rights to the knife sharpener

design covered by the ‘550
                      `550 Patent, The Gourmet Man has continued to make, import, offer to

sell, and/or sell the BBQ Nation Knife Sharpener. The Gourmet Man's
                                                              Man’s infringement of the ‘550
                                                                                        `550

Patent therefore is willful and deliberate.

           WHEREFORE, Plaintiff Smith’s
                                Smith's Consumer Products, Inc., prays for relief, as follows:

           A.      A judgment that The Gourmet Man has infringed the claim of the ‘550
                                                                                  `550 Patent and

that such infringement was willful.

           B.      An award of The Gourmet Man's
                                           Man’s profits resulting from The Gourmet Man's
                                                                                    Man’s

infringement of the ‘550
                    `550 patent under 35 U.S.C. § 289.

           C.                                                pre-judgment
                   An award of actual damages, including all pre              post-judgment
                                                                 judgment and post judgment

interest at the maximum rate permitted by law.

           D.                                                                            Man’s
                   An award of treble damages under 35 U.S.C. § 284 based on The Gourmet Man's

willful infringement.

           E.                            attorneys’ fees under 35 U.S.C. § 285; and
                   An award of costs and attorneys'

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       F.      Such further relief as this Court deems proper.

                                         JURY DEMAND

               COMES NOW Plaintiff Smith’s
                                   Smith's Consumer Products, Inc. by and through their

attorneys, hereby demands trial by jury on all issues so triable.


       DATED: April 7, 2022

                                              COSGRAVE VERGEER
                                              COSGRAVE VERGEER KESTER
                                                               KESTER LLP

                                                      s/ Nicholas E. Wheeler
                                                      s/             Wheeler

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                                                                      Smith's Consumer Products,
                                               Inc.




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